






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00221-CV






Edward Shawn Mack; Cook Portable Warehouses of Texas, L.L.P. a/k/a Cook Sales, Inc.;
and Cook Texas Management, L.L.C., Appellants


v.


Cynthia Rodriguez, Individually and on behalf of the Estate of David Villarreal, Deceased,
and Jarene Villarreal, Appellees







FROM THE DISTRICT COURT OF BASTROP COUNTY, 335TH JUDICIAL DISTRICT

NO. 24,885, HONORABLE TERRY L. FLENNIKEN, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N



	The parties have filed a joint motion signed by all counsel asking this Court to
dismiss the appeal.  See Tex. R. App. P. 42(a)(1).  We grant the motion and dismiss the appeal.




					                                                                                    

					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices B. A. Smith and Waldrop

Dismissed on Joint Motion

Filed:   October 6, 2006


